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                    1. UNITED STATES DISTRICT COURT FOR THE                          MAR 0 7 2013
                             EASTERN DISTRICT OF TEXAS
                                                                                  ClerET.      District Court
                                                                                         Te<   Eastern
    CRAIG CUNNINGHAM,                            §
   Plaintiff,                                    §
                                                 §
   v.                                            §
                                                 §
   Greenstar Capital Solutions, LLC, Alex        §
   Silverman, Noah Silverman, Trusted            §
   Leads, LLC, Schimeon Frederick, Tiffany       §
   Frederick, and John/Jane Does 1-5             §
                                                 §
    Defendants.

                           PUAINTIFF S Ori inal COMPLAINT

   1. The Plaintiff in this case is Craig Cunningham, a natural person who was a

          resident of Collin County, Texas at all times relevant to the complaint, and

          currently has a mailing address of 3000 Custer Road, ste 270-206, Plano Tx

          75075.

   2. Defendant Greenstar Capital Solutions, LLC (hereafter Greenstar), is an Florida


          limited liability company and can be served via registered agent Ronald Lewis,

          165 East Palmetto Park Rd., ste 200, Boca Raton, FL 33432 or corporate officer

          Alex Silverman, 40 SE 5th Street, Boca Raton, FL 33432

   3. Alex Silverman is a corporate officer and can be served at 40 SE 5th Street, Boca

          Raton, FL 33432

   4. Noah Silverman is a corporate officer and can be served at 19625 back nine dr, boca

          Raton, FL 33498

   5. Schimeon Frederick is a natural person who can be served at 5301 N. Federal

          Highway # 250, Boca Raton, FL 33487
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   6. Tiffany Frederick is a natural person who can be served at 5301 N. Federal Highway

          # 250, Boca Raton, FL 33487

   7. Trusted Leads, LLC is a Florida corporation operating from 5301 N. Federal

          Highway # 250, Boca Raton, FL 33487 and can be served via registered agent or

          corporate officers Tiffany Frederick and Schimeon Frederick at that address or

          218 ViaD. Este Apt 1310 Delray beach, FL 33445.

   8. John/Jane Doe defendants are other liable parties that will be identified in discovery.




                                               Jurisdiction



      2. Jurisdiction of this court arises as the acts happened in this county. Venue in this

          District is proper in that the defendants transact business here, and the acts and

          transactions occurred here. Personal jui'isdiction is apparent as the defendants are

          making calls/text messages to the state of Texas for the purpose of soliciting

          Texas residents.


                                     FACTUAL ALLEGATIONS

      3. Starting in 2015, 2016, and 2017, the Plaintiff began receiving text messages that

          are considered calls per the 9th Circuit s ruling in Satterfield v Simon Schuster,

          Inc. for enforcement under the Telephone Consumer Protection Act, 47 USC 227

          et seq. (TCPA) and phone calls initiated using an automated telephone dialing

          system to the Plaintiffs cell phone. The Plaintiff had not consented to being

          contacted using an automated telephone dialing system or text messages, and the

          calls were not related to an emergency purpose.
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      4. These text messages appeared to be promotional type messages as part of some

         marketing campaign using short code 31224. The text messages initially pitched

         student loan services and working capital. The short code is registered to Trasted

         Leads, LLC, which is owned by Frederick Schimeon and Tiffany Frederick.

      5. The text messages did not appear to be related to any emergency purpose and

         were not with the consent of the Plaintiff. All the text messages did were not

         personalized and were generic in nature. There are a total of 5 text messages

         identified at this point, but the Plaintiff is not finished conducting research on the

         calls. The text messages were on Sept 22, 2016, Nov 4, 2016, Nov 29th, 2016, Jan

         3, 2017, and Jan 12, 2017. The text messages were sent to 615-212-9191.

      6. A total of 38 calls were sent to the Plaintiffs cell phones from various caller ED s

         associated with Greenstar. The Plaintiff recieved calls from 615-866-05777 to

         615-331-7262 on 8/17/2017 and 1/24/2017.

      7. The Plaintiff recieved calls to 615-348-1977 from 615-866-0577 on 8/22/2017

         and 8/24/2017.

      8. The Plaintiff recieved calls to 615-212-9191 from 561-479-8449 on 2/8/2016

         twice and 954-803-8397 on 2/8/2016 and 2/5/2016, 2/9/2016, 2/16/2016

         ,2/26/2016, 3/3/2016, and 3/4/2016 three times and from 615-866-0577 on

         4/22/2016, twice, 4/27/2016, twice, 4/28/2016, 4/29/2016, 5/2/2016, 5/5/2016,

         5/9/2016, 5/11/2016, 5/12/2016, 5/16/2016, 5/17/2016, 6/16/2016, 6/17/2016,

         6/21/2016 twice, 10/31/2016 three times, 2/14/2017, 6/5/2017, and 8/4/2017 Five

         times.


             TCPA Violations by Frederick Schiemon a d Tiffany Schiemon
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      9. Frederick and Tiffany violated the Plaintiffs rights in this case by sending

         multiple unsolicited and unwanted text messages to the Plaintiffs cell phone.

         There were at least 5 text messages sent from the same short code associated with

         entities owned and controlled by the Schiemons and the text messages were sent

         at their direction. Additionally, Frederick and Tiffany operated a student loan

         consolidation scam and placed calls to the Plaintiff s cell phone from 561-362-

         2775 to 615-212-9191 as part of a scheme to sell student loan consolidation

         services at an inflated price that the Plaintiff could do for free. These calls falsely

         claimed to be on behalf of the US Department of Education and made false

         promises and exaggerated claims about student loan forgiveness. Calls occured on

         3/13/2015, 4/29/2015, and 5/21/2015, although the Plaintiff is researching others.

         The defendants used the now defunct entity, Trusted Debt Solutions to make the

                      The Plaintiffs Cell phones are a residential line

      10. The text messages were to the Plaintiffs cellular phonne 615-212-9191,, 615-

         348-1977, 615-331-7262 which are the Plaintiffs personal cell phones that he

         uses for personal, fa ily, and household use. The Plaintiff maintains no landline

         phones at his residence and has not done so for at least 10 years and primarily

         relies on cellular phones to communicate with friends and family. Tire Plaintiff

         also uses his cell phone for navigation purposes, sending and receiving emails,

         timing food when cooking, and sending and receiving text messages. The Plaintiff

         further has his cell phone registered in his personal name, pays the cell phone

         from his personal accounts, and the phone is not primarily used for any business

         purpose.
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                       Indications of an Automated Telephone Dialing System

        11. The text messages in Exhibit A provide ample indications of them being sent via

             an automated telephone dialing system. First and foremost, the message were not

             sent from a 10 digit phone number, but rather a 5 digit short code of 31224.”1

        12. Short codes are highly indicative that the message was sent by a high volume,

            bulk automated telephone dialing system as short codes are idealfor sending

            high-volume messages in the business to consumer enviornment. With long


            numbers, you 're only able to send 1 message per second, but short codes can send


            large numbers of bulk SMS messages at a con istent rate Math mugh higher

            throughput 1 * Another short code vendor describes short codes as Short codes:

            Mass blasts and “Long codes: Personalized communication!'1' Another text

            vendor describes the use case for Short codes vs traditional 10 digit numbers as

              Short codes support high-volume messaging and can reach many di ferent users

            at once 4 Another vendor describes the difference between long and short codes

            as: The key distinction between the two i that long codes are intended as a

            person-to-person communication tool, whereas short codes allow for the bulk


            messaging that is typical of marketing and emergency notification campaigns. A

            business can receive text messages to their long code, but a high volume of SMS

            to or f'om a sin le phone nu ber may tri er carriers' spam filters and blacklist

            yo r long code. 5


        13. This indicates that just by the presence of a short code on a text message, that the



   'See Exhibit A ge erally
   2https:/Avmv.clickatell.com/products/sms/short-codes/
   -,https://tcxtus.com/short-codc-tcxting-vs-!ong-codc-tcxting/
   4https:/Avw\v.nexmo.com/blog/2015/02/25/u-s-sms-long-codes-vs-short-eodes-what-is-best-for-my-use-case/
   5https://\v\vw.ca]lfire.com/help/glossary/co munications/Iong-code
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         message was sent by a system designed to send a large volume of messages, faster

         than 1 message per second, and for impersonal communication designed to bypass

         a phone carrier s spam filters. The Plaintiff notes that it is well beyond the

         physical capabilities of a human to send text messages at even 1 per second, and

         short codes send messages significantly faster than that.

      14. The calls showed indications of being autodialed by frequently having long

         periods of silence before disconnecting, such as on 4/22/2016 from 615-866-0577

         to 615-212-9191, the call lasted 9 seconds, had 9 seconds of dead air and then

         disconnected. On 8/4/2017, the Plaintiff recieved a call to 615-212-9191 from

         615-866-0577, the call lasted 10 seconds, had 10 seconds of dead air and then

         disconnected. On 2/14/2017, there was a call from 615-866-0577 to 615-212-

         9191 that had 3-4 seconds of dead air then an audible Bloop type tone upon

         which a live agent was connected to the call.

      15. Also, the local area code spoofing by using 615 numbers to call 615 numbers

         indicates that the calls were initiated by a system that can store and dial the

         Plaintiffs numbers and then dial using a fake outgoing callerlD correlated with

         the local area code in order to trick consumers like the Plaintiff into picking up

         the call.

      16. These calls violated the Telephone Consumer protection act, 47 USC 227 (b) by

         their automated nature and entitle the Plaintiff to $1500 per call in damages.

      17. The calls violated the TCPA due to the defendant’s failure to maintain a Do not

         call list, failure to train the agents on the use of a do not call list, and failure to

         identify the party placing the call by including the name, address and telephone
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         number at which the entity placing the calls may be contacted, pursuant to 47

         USC 227 (c)(5) as codified by the FC s 47 CFR 64.1200(d)(4).

     18. These are a separate category of violations entitling the Plaintiff to an additional

         $1500 per call. In total, the Plaintiff is entitled to recover $3000 per call.

   INJURY, HARM, DAMAGES, and ACTUAL DAMAGES AS A RESULT OF THE

                                               CALLS

      19. Defendant s text messages harmed Plaintiff by causing the very harm that
          Congress sought to prevent a nuisance and invasion of privacy.

      20. Defendant s text messages banned Plaintiff by trespassing upon and interfering
         with Plaintiff’s rights and interests in Plaintiffs cellular telephone.

      21. Defendant’s text messages harmed Plaintiff by trespassing upon and interfering
         with Plaintiff’s rights and interests in Plaintiff’s cellular telephone line.

      22. Defendant’s text messages harmed Plaintiff by intruding upon Plaintiff’s
          seclusion.
      23. The proximate cause of the following injuries are related to the text messages
          initiated by the Defendants in this case, as illustrated in Exhibit A.


      24. The Plaintiff has been harmed, injured, and damages by the text messages

          including, but not limited to:

   • Reduced Device Storage space

   • Reduced data plan usage

   • Invasion of privacy

   • Lost time tending to text messages

   • Decreased cell phone battery life

   • More freqent charging of my cell phone resulting in reduced enjoyment and usage of

      my cell phone

   • Reduced battery usage
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      Annoyance

      Frustmation

      Anger

                                    CAUSES OF ACTION:

                                            CO NT I

                  Violations of the Telephone Consumer Protection Act (TCPA)

      25. Plaintiff Cunningham incorporates by reference all of the above paragraphs of

         this complaint as though fully stated herein.




      26. The foregoing actions by the Defendants constitute multiple breaches of the

         TCPA by placing unsolicited automated calls to the Plaintiffs cell phone. These

         calls violated the TCPA, 47 USC 227(c)(5) as they failed to maintain a do not call

         list and train their agents on the use of it.

                                            COUNT n

                  Violations of the Telephone Consu er Protection Act (TCPA)

      27. Plaintiff Cunningham incorporates by reference all of the above paragraphs of

         this complaint as though fully stated herein.




      28. The foregoing actions by the Defendants constitute multiple breaches of the

         TCPA by placing automated calls without an emergency purpose to the Plaintiffs

         phone. These calls violated 47 USC 227(b)

                                           COUNT m

                                   Commonlaw Invasion of privacy
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      29. Plaintiff Cunningham incorporates by reference all of the above paragraphs of

         this complaint as though fully stated herein.




      30. The foregoing actions by the Defendants constitute multiple breaches of the the

         Plaintiff s right to be left alone and an invasion of privacy



                         PRAYER FOR DAMAGES AND RELIEFS

     A. WHEREFORE, Plaintiff, Cunningham, respectfully prays and requests that

         judgment be entered against Defendants

     B. Statutory damages of $3000 for each phone calPtext message and

     C. Actual damages of $3,000 per text message

     D. Pre-judgment interest from the date of the phone calls.

     E. Attorney s fees for bringing this action as incurred; and

     F. Costs of bringing this action; and

     G. For such other and further relief as the Court may deem just and proper




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  5543 Edmondson Pike, ste 248
  Nashville, tn 37211, 615-348-1977
